Case 2:20-cv-00486-RMP ECFNo. 10 filed 06/08/21 PagelD.33 Page 1 of 1

AO 450 (Rev. 11/11) Judgment in a Civil Action

UNITED STATES DISTRICT COURT mueD 1 THE
for the EASTERN DISTRICT OF WacHiINGTON

Eastern District of Washington

Charles Joseph Reevis 6/ 8/ 2 1

also known as
The Anahedone Heavely Queen's daddy

SEAN F. McAVOY, CLERK

 

Plaintiff

V. Civil Action No. 2:20-CV-486-RMP

SS aS

Spokane County Detention Services

 

Defendant

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

01 the plaintiff (name) recover from the

defendant (name) the amount of
dollars ($ ), which includes prejudgment

interest at the rate of %, plus post judgment interest at the rate of % per annum, along with costs.

O1 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

y other: This action is DISMISSED without prejudice for lack of subject matter jurisdiction.

This action was (check one):

O tried by a jury with Judge presiding, and the jury has
rendered a verdict.

 

O tried by Judge without a jury and the above decision
was reached.

 

of decided by Judge Rosanna Malouf Peterson

 

Date: 6/8/2021 CLERK OF COURT

SEAN F. McAVOY

 

s/ Courtney Piazza
(By) Deputy Clerk

 

Courtney Piazza

 
